                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

JENNELL BLACK, et al.                          *
                                               *
        Plaintiffs,                            *
                                               *
v.                                             *       Civil Action No. 1:20-cv-03644-CCB
                                               *
THOMAS WEBSTER IV, et al.                      *
                                               *
        Defendants.                            *
*       *     *        *       *       *       *       *       *       *       *       *       *     *


     PLAINTIFF COALITION FOR JUSTICE FOR ANTON BLACKS’ RESPONSE TO
            MUNICIPAL DEFENDANTS’ MOTION TO STRIKE (ECF 132)

        Plaintiff Coalition for Justice for Anton Black (“Coalition”) submits this Response to

certain Defendants’ Motion to Strike (ECF 132).

        1. The Coalition did not read or understand the May 20, 2022 Offer of Judgment (ECF

128-1) made on behalf of the three municipal defendants and four of the five municipal employees

to require the Coalition’s acceptance to be effective. While the Offer of Judgment (“Offer”) was

extended to all plaintiffs (ECF 128-1 at 1 (offer made “to all Plaintiffs”)), the Defendants’ “intent,”

and spelling out the consequences to the claims of Plaintiffs who accepted (i.e., that they would

purportedly be required to “execute a release” that was a general release covering all claims) (ECF

128-1 at 2), there was no express condition in the Offer either requiring all Plaintiffs to participate

in order for the Offer to be effective, or that the Offer would not be effective without participation

of all Plaintiffs.

        2. Defendants’ motion is premised on conflating the concept of a contractual consequence

(what happens if Plaintiffs accept) with a condition (what the Plaintiffs must do to accept). This

is a basic error in interpreting the provision, because Maryland, like most states, employs a “strict
interpretation as to the type of language that creates a condition precedent.” N.Y. Bronze Powder

Co. v. Benjamin Acquisition Corp., 716 A.2d 230, 234 (Md. Ct. App. 1998) (construing New York

law). Under Maryland law, “conditions precedent are not favored in law and courts should not

construe such unless required to do so by plain, unambiguous language or necessary implication.”

JE Dunn Cost. V. SRP Dev. Ltd. Partnership, 115 F. Supp. 3d 593, 607 (D. Md. 2015) (citing

Hubler Rentals, Inc. v. Roadway Exp., Inc., 637 F.2d 257, 263 n.2 (4th Cir. 1981). A contractual

condition is usually signified by using “words and phrases [such] as ‘if’ and ‘provided that,’ [or]

‘when,’ ‘after,’ ‘as soon as,’ or ‘subject to.’” Chirchella v. Erwin, 310 A.2d 555, 557 (Md. Ct.

App. 1973) (explaining distinction between “conditions” and “consequences” under Maryland

law.” Neither the language cited by Defendants in their Motion nor any other portion of the May

20, 2022 Offer contains such words establishing a condition. And the Court should not imply one.

       3. This interpretation that the Offer did not include a unanimity condition is not only

confirmed by the plain language of the Offer, but as discussed below, it is the most reasonable

interpretation in light of the full context of the litigation, discussions between the Parties, and Rule

68 case law, which makes clear that had Defendants actually included a unanimity condition

requiring the Coalition’s acceptance in their May 20, 2022 Offer, it would have rendered the Offer

unenforceable and meaningless as a matter of law. Of particular note, Defendants nowhere in their

motion discuss the pre-acceptance discussions between counsel about the Offer and its meaning,

which included:

              discussion between defense counsel and counsel for the Black Family Plaintiffs

               regarding, inter alia, the fact that the Offer did not address the Coalition’s claims

               for injunctive or declaratory relief;




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                the Coalition’s subsequent May 26, 2022 written communication to defense

                 counsel characterizing the Rule 68 Offer as an “Offer of Partial Judgment” and

                 noting the Offer failed to address the Coalition’s claims for equitable or injunctive

                 relief, see Ex. A;1 and

                defense counsel’s failure to dispute the characterization in the Coalition’s email of

                 the Rule 68 Offer as an “Offer of Partial Judgment,” or otherwise suggest in

                 response that the Coalition’s participation was a required condition to make the

                 Rule 68 Offer effective.

To be clear, at no time prior to the Black Family Plaintiffs’ acceptance did defense counsel suggest

that the Coalition’s participation was a necessary condition to the Rule 68 Offer.

        4. If the Coalition’s participation was a condition of the Rule 68 Offer’s effectiveness, that

should have been expressly stated in the Offer. For illustrative purposes, the Coalition has attached

examples of Offers of Judgment that included such an express condition in the clear langauge

required by Maryland law. See Ex. B at 2 (“Defendants shall pay this Offer of Judgment . . . only

if all other named Plaintiffs in this case, as of today’s date, accept the Offers of Judgment . . . .”);

Ex. C at ¶ 4 (“This Offer of Judgment is conditioned on the unanimous acceptance of all seven (7)

Plaintiffs”); Ex. D (“Acceptance by less than all plaintiffs shall be deemed a rejection of this

offer”). No similar language is found in the May 20, 2022 Offer. As these examples make clear,

crafting a Rule 68 Offer is not rocket science, and if an Offer is conditioned on participation of all

plaintiffs, it is not difficult to state that point clearly.

        5. Perhaps recognizing the weakness of their position within the four corners of the May

20, 2022 Offer, Defendants have submitted extensive extrinsic evidence of the Offer’s meaning,



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                 The Coalition has waived its Rule 408 claim as to this email.
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ECF 132 at 3-5 (discussing exhibits submitted at ECF 132-3 through 132-8), and concede the

possibility that the Offer was “ambiguous,” ECF 132 at 9. While it is black letter law that

“extrinsic evidence” offered by the party who makes a Rule 68 Offer “should not be considered,”

Bosley v. Mineral County Comm’n, 650 F.3d 408, 414 (4th Cir. 2011), it can be appropriate to

consider extrinsic evidence to the extent that it is helpful to the non-drafting party. See, e.g.,

Kyreakakis v. Paternoster, 732 F. Supp. 1287, 1292 (D.N.J. 1990). Such evidence, including Rule

68 case law, the context of this lawsuit, and the pre-acceptance discussions between the Parties, in

addition to the Offer’s failure to expressly state that it was contingent on the Coalition’s

acceptance, all confirm that the Coalition’s reading and interpretation of the Rule 68 Offer is not

only reasonable, but also the most logical interpretation of the Rule 68 Offer.

       6. First, it bears emphasis that defense counsel drafted the May 20, 2022 Rule 68 Offer,

and accordingly, the offer is to be construed against the drafter consistent with the principle of

contra proferentuem. See, e.g., Bosley, 650 F.3d at 414. A plaintiff is entitled to “construe the

offer’s terms strictly, . . . and ambiguities are to be resolved against the offeror.” Id. (citation

omitted); Erdman v. Cochise Cnty., 926 F.2d 877, 880 (9th Cir. 1991). “[T]he plaintiff must know

unequivocally what is being offered in order to be responsible for refusing such offer.” Warren v.

Sessoms & Rogers, P.A., 676 F.3d 365, 371 (4th Cir. 2012) (citation omitted) (alteration in

original), abrogated on other grounds by Campbell-Ewald Co. v. Gomez, 577 U.S. 153 (2016).

“[A] defendant should state his intentions clearly, and any failure to do so will be at his peril.”

Chambers v. Manning, 169 F.R.D. 5, 8 (D. Conn. 1996).




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       7. Second, unlike the Seventh Circuit decision cited by the Defendants that recognizes the

right to condition a Rule 68 Offer on the participation of all Plaintiffs, ECF 132 at 8,2 the Fourth

Circuit has repeatedly emphasized that a Rule 68 Offer of Judgment “must be unconditional.” See,

e.g., Warren, 676 F.3d at 371 (citation omitted); Simmons v. United Mortg. & Loan Inv., LLC, 634

F.3d 754, 764 (4th Cir. 2011). This position is consistent with Supreme Court guidance on Rule

68 offers. See, e.g., Campbell-Ewald, 577 U.S. at 170 (Thomas, J., concurring) (noting Rule 68

had its “origins in the law of tenders” which requires a tender to be made “in an ‘unconditional

manner’” (citation omitted)). See also 12 Charles Alan Wright & Arthur R. Miller, Federal

Practice and Procedure § 3002 (3d ed.) (a Rule 68 offer “must be unconditional”).

       The significance of the Fourth Circuit guidance is that had defense counsel expressly

conditioned their Offer on the participation of all Plaintiffs (including the Coalition), the Offer

would have violated the requirement that Rule 68 be “unconditional,” and would not be

enforceable. In light of this, it is reasonable to assume, consistent with the lack of express language

in the agreement, that defense counsel decided not to expressly condition the offer on an

impermissible condition that would have made the offer void ad initio.

       8. Third, the Coalition is seeking only injunctive and equitable relief in this action. See

ECF 38 ¶ 11. The May 20, 2022 offer did not include any terms that addressed the Coalition’s

demand. As a matter of contract law, the Offer would not be enforceable as to the Coalition

because a contract “must be supported by adequate consideration in order to be valid and

enforceable.” Caire v. Conifer Value Based Care, LLC, 982 F. Supp. 2d 582, 591 (D. Md. 2013).




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               Defendants incorrectly suggest that Tocwish v. Jablon, 183 F.R.D. 239 (N.D. Ill.
1998) held that a Rule 68 offer that have a unanimity condition are “valid.” ECF 132 at 7-8.
Instead, the Tocwish court specifically found the “Defendants’ conditional offer invalid . . . .” Id.
at 242.
                                                  5
       Another way of thinking about this is that, as to the Coalition, the May 20, 2022 Offer is

what the Rule 68 case law refers to as a “sham” or “bad faith” offer, which cannot be enforced.

See generally August v. Delta Air Lines, Inc., 600 F.2d 699 (7th Cir. 1979) (affirming refusal to

enforce a Rule 68 offer where it does not “justify serious consideration by the plaintiff”) aff’d on

other grounds, 450 U.S. 346 (1981); Slovin v. Sunrun, Inc., No. 15-CV-5340, 2017 WL 2902902

(N.D. Cal. July 7, 2017) (invalidating offer).

       To be clear, there is no circumstance under which the May 20, 2022 Offer could be

effective as to the Coalition. At trial, either the Coalition will prevail and obtain injunctive or

declaratory relief in which case the May 20, 2022 Offer would not be effective because any

injunctive or declaratory relief would be more than the Defendants offered, see, e.g., Reiter v. MTA

New York Transit Authority, 457 F.3d 224, 229 (2d Cir. 2006), or the Defendants will win in

which case no judgment would be entered against the Defendants and the May 22, 2022 Offer

would not be operative. See Delta Airlines, Inc. v. August, 450 U.S. 346, 354, 356 (1981) (noting

Rule 68 “does not apply to judgments in favor of the defendant” and that “it is hardly fair or

evenhanded to make the plaintiff’s rejection of an utterly frivolous settlement offer a watershed

event”). In other words, the May 20, 2022 Offer to the Coalition was entirely illusory, as the

Coalition specifically noted in its June 3, 2022 written rejection of the Offer. See Ex. E.

       Again, defense counsel is presumed to understand the Rule 68 case law, and had defense

counsel expressly conditioned their Rule 68 Offer on the participation of the Coalition without

offering equitable or injunctive relief, they should have understood the Offer was meaningless and

unenforceable as to the Coalition. Accordingly, it is reasonable to assume that defense counsel,

consistent with their failure to expressly so state, did not condition the May 20, 2022 Offer on the

Coalition’s participation, which would have made the offer void ad initio.



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       9. Fourth, the pre-acceptance communications between the Parties (which Defendants do

not discuss in their Motion) support the interpretation that the Offer, as drafted, did not require the

Coalition’s participation. In particular, when the Coalition advised defense counsel on May 26,

2022 that the May 20, 2022 Offer was only an “Offer of Partial Judgment” and failed to address

the Coalition’s claims, and sought clarification or modification of the Offer, defense counsel

neither disputed that the Offer was incomplete, nor that the Offer offered nothing to the Coalition,

nor did it advise that the Coalition’s participation was necessary for the May 20, 2022 Offer to be

effective. See Ex. A.3

       Defense counsel never responded to that email. Nor could Defendants dispute the May 20,

2022 Offer is only for a “Partial Judgment”; among other things, it does not cover Defendant

Lannon, or the State Defendants Fowler, Alexander, or the Office of the Medical Examiner. Nor,

for the reasons discussed above, can Defendants dispute that the Offer was ineffective as a matter

of law as to the Coalition. And prior to the Black Family’s acceptance of the May 20, 2022 Offer,

defense counsel never advised the Coalition that it believed the Coalition’s participation was a

necessary condition of the Offer.

       The Defendants’ failure to respond to the Coalition’s request for clarification, as well as

Defendants’ failure to advise that the Coalition was a required participant, should be construed

against them. See, e.g., Howell v. Conkle, No. 2:13-cv-406, 2014 WL 12591849, at *5-6 (S.D.

Ohio 2014).




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               This email followed a discussion between Mr. Levine and Mr. Hershfield during
which Mr. Hershfield noted the Offer’s failure to address the Coalition’s equitable and declaratory
claims, and Mr. Levine directed Plaintiffs to follow up with Mr. Cornbrooks, counsel for the Town
of Greensboro.
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       10. Finally, defense counsel’s statements and conduct following the acceptance of the

Offer by the Black Family Plaintiffs, Exs. F, G, H, and I confirm that the Defendants are

retroactively trying to rewrite the offer after it was accepted. Specifically:

              Only after the Black Family Plaintiffa accepted the Offer did defense counsel wrote

               on June 3, 2022 at 1:05 pm that the “offer was expressly conditioned upon” the

               acceptance of the Coalition. Ex. F. That communication cited no language

               “expressly conditioning” the offer in any such way.

              On Friday June 3, 2022 at 9:01 pm, following the Coalition’s communication that

               the Offer was not valid as to the Coalition, Ex. E, defense counsel wrote a

               threatening email to the Coalition and demanded a response by midnight. Because

               defense counsel made this communication under Rule 408, Plaintiffs are not

               submitting it.

              Following the Coalition’s response on June 6, Ex. G, defense counsel wrote that

               the letter “plainly states it must be accepted by, and extinguish the claims of all the

               plaintiffs,” but did not cite any such language establishing the condition was in the

               actual Offer.    Defense counsel also threatened to seek sanctions against the

               Coalition. Ex. H.4




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               In addition to misrepresenting the contents of the May 20, 2022 Rule 68 Offer,
defense counsel made serious misrepresentations in this communication. For example, in refusing
to pull down deposition notices, defense counsel stated “the defendants have met their discovery
obligations.” At that time, defense counsel had been served with three motions to compel, arising
from the fact, inter alia, that Defendants Webster and Greensboro had produced not a single
document, and Defendant Lannon had produced only two pages, in response to requests for
production. The Coalition expects to raise Defendants’ compliance with its discovery obligations
as soon as the Local Rule 104.8 process has concluded.
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              Defense counsel subsequently wrote “the offer letter says literally the opposite” of

               Plaintiffs’ position, again without identifying any language in the Offer, literally or

               otherwise that stated the Coalition’s participation was a necessary condition of the

               Offer. Defense counsel again threatened to seek sanctions. Ex. I.

These communications, increasingly strident, represent post-acceptance efforts by Defendants to

modify the terms of the Rule 68 Offer to impose a condition that was not stated within the four

corners of the accepted Offer. Courts have “consistently resisted efforts by either party to qualify

or explicate the terms of an accepted offer, . . . or the terms of a rejected offer. . . . And there is

good reason for this narrow approach: after-the-fact efforts to clarify offers ‘undermine the Rule’s

purpose . . . .” Gavoni v. Dobbs House, Inc., 164 F.3d 1071, 1075-76 (7th Cir. 1999) (citations

omitted). The Court should similarly reject Defendants’ efforts here.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny the Motion to Strike, and should set a

status conference to address further proceedings in this case.

                                               Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of June, 2022, notice of the foregoing filing was

electronically filed in this case through the ECF system and a copy was served electronically

upon counsel of record.

                                                     /s/ John A. Freedman
                                                     John A. Freedman




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